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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Criminal No. 22-19 (PJS/HB)

UNITED STATES OF AMERICA,

Plaintiff,
Vv. PLEA AGREEMENT AND
SENTENCING
NAMIRI LOVE LAQUANDAS STIPULATIONS
TANNER,
Defendant.

The United States of America and the defendant, Namiri Love Laquandas
Tanner, agree to resolve this case on the following terms and conditions. This plea
agreement binds only Tanner and the United States Attorney’s Office for the District
of Minnesota: It does not bind any other United States Attorney’s Office or any other
federal or state agency.

1. Charges. Tanner agrees to plead guilty to Count 1 of the Indictment,
charging him with Possession of a Machinegun in violation of Title 18, United States
Code, Section 922(0)(1).

2. Factual Basis. Tanner stipulates and agrees to the following facts

and further agrees that, were this matter to go to trial, the United States would prove
the following facts beyond a reasonable doubt.

On July 21, 2021, Tanner illegally possessed a machinegun. Law enforcement
were conducting surveillance on Tanner in an attempt to executed a search warrant

for Tanner’s person. Officers observed Tanner outside the Minneapolis Market in

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south Minneapolis. Officers saw Tanner conduct a “security check” of his waistband.
Officers then saw Tanner get in a car and drive off.

Officers followed Tanner until he parked his car. Officers then approached
Tanner to attempt to execute the search warrant. Officers identified themselves and
ordered Tanner to put his hands up. Tanner then fled from police on foot, jumping
over a fence and then off a retaining wall. Officers searched for him but did not find
him.

After Tanner fled, officers searched the car and recovered a .40-caliber Glock
pistol, model 27, with a high-capacity magazine, bearing serial number PEB845 (the
“Firearm”). The Firearm was equipped with an attached conversion device, commonly
known as a “switch” or “auto sear,” enabling it to be fired as a fully automatic weapon
by a single function of the trigger. Tanner knew it had characteristics that made the
Firearm a machinegun.

Tanner admits that he acted voluntarily and that he knew his actions in
possessing the Firearm modified to function as a machinegun violated the law.

3. Waiver of Pretrial Motions. Tanner understands and agrees that he

has certain rights to file pretrial motions in this case. As part of this plea agreement
and based upon the concessions of the United States contained herein, Tanner
knowingly, willingly and voluntarily agrees to withdraw any pretrial motions he may
have already filed and to give up the right to file any additional pretrial motions.

4. Waiver of Constitutional Trial Rights. The defendant understands

that he has the right to go to trial. At trial, the defendant would be presumed

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innocent, have the right to trial by jury or, with the consent of the United States and
of the Court, to trial by the Court, the right to the assistance of counsel, the right to
confront and cross-examine adverse witnesses, the right to subpoena witnesses to
testify for the defense, the right to testify and present evidence, and the right to be
protected from compelled self-incrimination. The defendant understands that he
has the right to an attorney at every stage of these proceedings and, if necessary, one
will be appointed to represent him. The defendant understands that he has the right
to persist in a plea of not guilty and, if he does so, he would have the right to a public
and speedy trial. By pleading guilty, the defendant knowingly, willingly, and
voluntarily waives each of these trial rights, except the right to counsel. The
defendant understands that a guilty plea is a complete and final admission of guilt
and, if the Court accepts the guilty plea, the Court will adjudge the defendant guilty
without a trial.

5. Additional Consequences. The defendant understands that as a

result of his conviction, he could experience additional consequences, such as the loss
of the right to carry firearms, the right to vote, and the right to hold public office.

6. Statutory Penalties. The parties agree that Count 1 of the

Indictment carries the following statutory penalties:

a. a maximum term of 10 years’ imprisonment, a Class C felony. (18

U.S.C. §§ 922(0)(1), 924(a)(2), and 3559(a)(3));

b. a supervised-release term of not more than 3 years. (18 U.S.C.
§§ 3559(a)(8) and 3583(b)(2));

c. a fine of up to $250,000. (18 U.S.C. §§ 924(a)(2) and 3571(b)(8)); and

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d. a mandatory special assessment of $100. (18 U.S.C.
§ 3013(a)(2)(A)).

7. Guidelines Calculations. The parties acknowledge Tanner will be

sentenced in accordance with Title 18, Chapter 227 (18 U.S.C. §§ 3551 — 3586) and
with reference to the advisory United States Sentencing Guidelines. The parties also
acknowledge the Court will consider the United States Sentencing Guidelines in
determining the appropriate sentence, and the parties stipulate to the following
Guidelines calculations. Notwithstanding the following stipulations, nothing in this
plea agreement prevents the parties from bringing to the attention of the Court and
the Probation Office all information in their possession regarding the offense,
including relevant conduct, and Tanner’s background.

a. Base Offense Level. The parties agree that the base offense
level is 18, because Tanner possessed a machinegun. USSG § 2K2.1(a)(5)

b. Specific Offense Characteristics. The parties agree that no
specific offense characteristics or adjustments apply.

c. Chapter Three Adjustments. The parties agree that other
than acceptance of responsibility, no other Chapter Three adjustments apply.

d. Acceptance of Responsibility. The parties agree that if and
only if the defendant: (1) provides full, complete and truthful disclosures to the
United States Probation and Pretrial Service Office, including providing
complete, accurate and truthful financial information; (2) testifies truthfully
at the change-of-plea and sentencing hearings; (3) complies with this
agreement; and (4) does not engage in any act inconsistent with acceptance of
responsibility before the time of sentencing, including frivolously denying facts
in the Presentence Report, the United States will recommend that the
defendant receive a two-level reduction for acceptance of responsibility under
USSG § 3E1.1(a), and will move for an additional one-level reduction under §
3E1.1(b). The defendant understands that any reduction for acceptance of
responsibility shall be determined by the Court in its discretion. Nothing in
this agreement, however, limits the right of the Government, pursuant to
U.S.S.G. § 3E1.1 and/or § 3C1.1 to seek denial of a reduction for acceptance of

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responsibility or an enhancement for obstruction of justice should the
defendant engage in any conduct inconsistent with acceptance of
responsibility, including moving to withdraw his guilty plea after it 1s entered.

After applying all adjustments, the adjusted total offense level is 15.

e. Criminal History Category. Based on the information
currently available, the parties believe the defendant has a criminal history
category of II. This is not a stipulation but merely a belief based on an
assessment of the information currently known. Accordingly, the parties
agree that the defendant’s actual criminal history category and related status
will be determined by the Court based on the information presented in the
Presentence Report and by the arguments made by the parties at the time of
sentencing.

f. Guidelines Ranges. If the adjusted total offense level is 15,
and the criminal history category is II, the advisory Guidelines range is 21-27
months’ imprisonment.

g. Fine Range. If the adjusted total offense level is 15, the
applicable fine range is $7,500 to $75,000. USSG § 5E1.2(c)(8).

h. Special Assessments. The Guidelines require payment of a
special assessment in the amount of $100.00. USSG § 5E1.3. Mr. Tanner
understands and agrees that this special assessment is due and payable at or
before sentencing.

1. Supervised Release. The Guidelines require a term of
supervised release of at least 1 year but not more than 3 years. USSG
§ 5D1.2(a)(2).

8. Revocation of Supervised Release. Tanner understands that if he

were to violate any supervised release condition while on supervised release, the
Court could revoke his supervised release, and Tanner could be sentenced to an
additional term of imprisonment up to the statutory maximum set forth in 18 U.S.C.

§ 3583(e)(3). See USSG §§ 7B1.4, 7B1.5. Tanner also understands that as part of any

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revocation, the Court may include a requirement that he be placed on an additional
term of supervised release after imprisonment, as set forth in 18 U.S.C. § 3583(h).

9. Discretion of the Court. The foregoing stipulations bind the parties

but not the Court. The parties understand the Sentencing Guidelines are advisory
and their application is a matter falling solely within the Court’s discretion. The
Court will make its own determination regarding the applicable Guidelines factors
and the applicable criminal history category. The Court may also depart from the
applicable Guidelines. If the Court determines the applicable Guidelines calculations
and/or the defendant’s criminal history category are different from that stated above,
the parties may not withdraw from this agreement, and Tanner will be sentenced
pursuant to the Court’s determinations.

10. Agreements as to Sentencing Recommendation. The parties are

free to recommend whatever sentence they deem appropriate. The parties reserve
the right to make a motion for departures/variances from the applicable Guidelines
range pursuant to 18 U.S.C. § 3553(a), to oppose any such motion made by the
opposing party, and to argue for a sentence outside the applicable Guidelines range.
If the Court does not accept the sentencing recommendation of the parties, the
defendant will have no right to withdraw his guilty plea.

11. Special Assessment. The Guidelines require payment of a special

assessment in the amount of $100 for each felony count of which the defendant is
convicted, pursuant to Guideline § 5E1.3. The defendant agrees to pay the special

assessment prior to sentencing.

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12. Restitution Agreement. The defendant understands and agrees that
18 U.S.C. § 3663 applies and that the Court may order the defendant to make
restitution to the victims of his crime.

13. Forfeiture. The defendant agrees to forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United
States Code, Section 2461(c), any firearm with accessories and any ammunition
involved in the defendant’s violation of Title 18, United States Code, Section 922,
including but not limited to a .40-caliber Glock pistol, model 27, with a high-capacity
magazine, bearing serial number PEB845. The defendant agrees that the United
States may, at its option, forfeit such property through civil, criminal or
administrative proceedings, waives any deadline or statute of limitations for the
initiation of any such proceedings, and abandons any interest he may have in the
property. The defendant waives all statutory and constitutional defenses to the
forfeiture and consents to the destruction of the ammunition.

14. Waiver of Appeal and Collateral Attack. The defendant hereby

waives the right to appeal any non-jurisdictional issues. This appeal waiver
includes, but is not limited to, the defendant’s waiver of the right to appeal guilt or
innocence, sentence and restitution, and the constitutionality of the statutes to which
the defendant is pleading guilty. The parties agree, however, that excluded from
this waiver is an appeal by defendant of the substantive reasonableness of a term of
imprisonment above the high end of the Guidelines range determined by the district

court. The defendant also waives the right to petition under 28 U.S.C. § 2255 except

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based upon a claim of ineffective assistance of counsel. The defendant has discussed
these rights with the defendant’s attorney. The defendant understands the rights
being waived, and the defendant waives these rights knowingly, intelligently, and
voluntarily.

The United States agrees to waive its right to appeal any sentence except the
government may appeal the substantive reasonableness of a term of imprisonment
below the low end of the Guidelines range determined by the district court.

15. Waiver of Freedom of Information Act and Privacy Act. In

exchange for the concessions of the United States made herein, Tanner agrees to
waive all rights to obtain, directly or through others, information about the
investigation and prosecution of this case under the Freedom of Information Act and

the Privacy Act of 1974, 5 U.S.C. §§ 552, 552A.

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16. Complete Agreement. This, along with any agreement signed by the

parties before entry of plea, is the entire agreement and understanding between the

United States and the defendant.

Dated: Mh wi I> , 202s ANDREW M. LUGER
J) United States Attorney

Lng MO SLE

BY: HARRY M. JACOBG/ 9

Assistant United States/Attorney

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Dated: May I> 2621 Avy
NAMIRI LOVE LAQUANDAS TANNER
Defendant

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Dated: ¥ 5| \3\ TOYA <\_ / A \————

JENNIFER CONGDON, ESQ.
Attorney for Defendant

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